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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                     §
RANDSTAD GENERAL PARTNER             §
(US), LLC and RANDSTAD TECHNOLOGIES, §
LLC.                                 §
                                     §
                 Plaintiffs,         §
                                     §                        CIVIL ACTION FILE NO.:
v.                                   §                           3:20-cv-02814-N
                                     §
BEACON HILL STAFFING GROUP, LLC,     §
SHAWNA BESTREICH, ANDREW WANG,       §
and DOES 1-10.                       §
                                     §
                 Defendants.         §


        AMENDED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       Plaintiffs Randstad General Partner (US), LLC and Randstad Technologies, LLC

(collectively, “Randstad”) file this Amended Complaint for Injunctive Relief and Damages

(“Complaint”) against Defendants Beacon Hill Staffing Group, LLC (“Beacon Hill”), Shawna

Bestreich, and Andrew Wang (“Wang” and, with Bestreich and Beacon Hill, “Defendants”).

                                     INTRODUCTION

       1.     Unable to grow its business organically quickly enough, develop talent from

within, or compete fairly with Randstad based upon the quality of its services, Beacon Hill has

continued to raid Randstad of its employees, knowing full well that these employees are subject

to post-employment restrictive covenants and non-disclosure obligations that multiple courts

have found enforceable, including late last month. See, e.g., Randstad Techs., LLC v. Lisette

Robles, No. 2020-0105987 (Ga. Super. Ct., Cobb Cty.) (Sept. 30, 2020); Randstad Techs., LLC

v. Luma, et al., No. 18106542 (Ga. Super. Ct., Cobb Cty.); Randstad General Partner (US), LLC
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v. Volt Workforce Solutions, LLC, No. 17108166 (Ga. Super. Ct., Cobb Cty.), Randstad

Professionals US, LLC v. Joseph Tamberrino, et al., No. 1:18-cv-940-ELR (N.D. Ga.).

       2.      Since 2016 alone, Beacon Hill has hired dozens of Randstad employees and has

targeted many more. Indeed, even after Randstad filed a lawsuit in Georgia in March 2019 (the

“Georgia Litigation”), which remains ongoing, Beacon Hill hired multiple Randstad employees

in violation of their restrictive covenant agreements and has targeted and solicited dozens if not

over 100 more—despite being actively involved in litigation with Randstad regarding the very

same agreements and conduct.

       3.      The purpose of this scheme is to compete unfairly by gaining access to and

exploiting Randstad’s (and other competitors’) confidential information, trade secrets, and

customer and Talent goodwill which is otherwise protected by restrictive covenant agreements.

       4.      Beacon Hill’s improper and illegal conduct is not limited to a single rogue

manager or division, nor is this case. Rather, Beacon Hill’s business model, as formulated and

implemented by its Chief Executive Officer, Andrew Wang, is to intentionally violate or

willfully ignore restrictive covenants, as admitted by its own 30(b)(6) corporate representative

during the Georgia Litigation:

       Q.      Do you care at all whether an employee has a restrictive covenant
               agreement?

       A.      I don't ask about it in the interview process.

       Q.      Do you ask about it ever?

       A.      If it comes up in litigation and we've been sued, we have conversations
               with counsel about whatever agreements they may have had with their
               previous company.

       Q.      But until you get sued, it's not something that you worry about?

       A.      It's not -- I don't ask about it in the interview process, which is what I think
               you're asking me. And I don't ask about it once they've started with our


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              company. I focus on if they're going to be a good fit for us, and ultimately
              if an issue comes up that is related to their previous employment,
              generally I would send that to counsel. If it looks like it was written by a
              lawyer, I'm going to send it to a lawyer for interpretation and -- and
              reading, and I'm going to focus on the business of what I do within our
              group.

                                        *      *       *

       Q.     Do you take any steps after you've hired somebody, starting on day 1 of
              their employment, to make sure that they're not violating any agreement
              with their former employer?

       A.     I don't know of any agreement, so how could I take steps to prevent them
              from violating it?

       5.     Beacon Hill is a serial tortfeasor that grows by violating restrictive covenants. In

fact, Wang views violating restrictive covenant agreements as a critical part of its growth

strategy.

       6.     Between 2003 and 2009, Beacon Hill grew from approximately 40 employees to

100. But, starting in approximately 2010, Beacon Hill began experiencing stratospheric

employee growth, as is evident from their employee figures in the “our evolution” page of

Beacon Hill’s website:




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This led off a period where Beacon Hill became a “double digit consecutive-time nominee to

both the Boston Business Journal's Fastest-Growing Private Companies list and Inc. Magazine’s

Fastest-Growing     Private    Companies     list.”   See    Our    Evolution,    available   at:

https://beaconhillstaffing.com/About/Our-Evolution (last accessed August 7, 2020).

       7.      This massive growth also coincided with an exponential increase in the number of

restrictive covenant lawsuits filed against Beacon Hill. Prior to 2010, Beacon Hill was named as

a defendant in only one restrictive covenants lawsuit.1 However, after 2010, Beacon Hill has

been sued no fewer than 20 times for tortious interference with contractual obligations.

       8.      Beacon Hill’s volume of restrictive covenant litigation is dramatically

disproportionate to Beacon Hill’s size. The reason why Beacon Hill is sued for restrictive

covenant violations at a dramatically higher rate than its competitors is because Beacon Hill



1
 This number is based on a PACER search, which would not capture state court litigation filed
against Beacon Hill.


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grows by hiring employees and placing them in positions that violate restrictive covenant

agreements.

       9.      This strategy is conceived of, driven, and implemented by Wang, assisted by

other members of its Executive Committee, including Charlie Cain. According to Wang’s

professional biography on Beacon Hill’s website, he has spearheaded Beacon Hill’s

transformation from a small, 10-person company to a company employing more than 600

employees. Beacon Hill describes Wang as “responsible for Beacon Hill Staffing Group’s vision,

strategic direction, and overall performance.” Wang is the quintessential micromanager and is

personally responsible not only for conceiving of Beacon Hill’s illegal growth strategy, but

personally executing on it and personally committing torts.

       10.     Indeed, Wang personally authors every single offer letter to every new Beacon

Hill hire. This is not the behavior of a CEO who is merely responsible for high-level strategic

decisions and delegates the execution thereof to lower level executives; Beacon Hill is Andy

Wang and he would have it no other way.

       11.     Numerous companies, including Randstad, have sent Wang letters informing him

and Beacon Hill of restrictive covenant agreements these companies have entered into with

recent Beacon Hill new hires and have requested that Beacon Hill ensure that they cease and

desist interfering with the restrictive covenant agreements. The response is typically a form letter

from outside corporate counsel that does not deny any facts—how could it?—but rather feigns

indignation, plays the victim, and lashes out at Randstad for coming after the “little guy”; all

classic examples of projection.

       12.     Wang is also aware of his company’s propensity to hire individuals subject to

restrictive covenant agreements, because Beacon Hill offer letters—which, again, he personally




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authors and often signs—regularly contain an agreement to pay for legal fees associated with any

lawsuit brought by the prior employer. They do not, however, include language that is standard

in offer letters in the staffing industry (among many others) seeking assurances that the employee

is permitted to work in the role for which he or she is being hired and is not limited in any

manner by a restrictive covenant; as Mr. Cain testified under oath as Beacon Hill’s 30(B)(6)

witness, Beacon Hill does not want to know that information.

       13.     Not surprisingly, Wang is aware of Beacon Hill’s involvement in restrictive

covenants litigation as a Defendant. However, Wang has made a conscious decision to

repeatedly violate restrictive covenant in order to obtain premium talent by engaging in behavior

that other participants in the market will not: blatantly violating restrictive covenants.

       14.     On information and belief, Wang actively directs Beacon Hill’s managing

directors to hire experienced individuals in markets where Beacon Hill wishes to develop a new

line of business without regard to whether that individual is bound by any restrictive covenant,

because he assesses that it is less expensive to do so than to nurture homegrown talent, even

including the cost of any resulting litigation if he gets caught (and, as discussed herein, Beacon

Hill takes steps to insure its conduct is hidden).

       15.     Beacon Hill also communicates its willingness to violate restrictive covenants to

potential hires and, on information and belief, to third-party recruiters it retains. For instance, in

the summer of 2019, a Randstad employee interviewed with Charlie Cain, head of Beacon Hill’s

administrative division and a member of its Executive Committee. When the employee

expressed concern about his non-compete with Randstad, Cain told the employee to not worry

about his non-compete, that Beacon Hill had a very good legal team, and that he should focus on

producing and Beacon Hill would handle any issues related to his non-compete.




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       16.     In spite of that knowledge, Beacon Hill has not implemented a policy or practice

to screen potential new hires for restrictive covenant agreements. Nor does it take any action to

ensure non-interference with their competitors’ agreements after receiving cease and desist

letters from their competitors or otherwise learning of an employee’s restrictive covenant

agreement. Rather, in an effort to grow its business as quickly as possible, Beacon Hill

intentionally ignores or intentionally attempts to avoid learning about restrictive covenant

agreements that potential new hires may have with their prior employers; and when it does learn

of such agreements it ignores them. But this “head in the sand” approach does not eliminate

Beacon Hill’s legal obligation not to interfere with its competitor’s restrictive covenant

agreements and compete unfairly, in particular when it already knows exactly what it is trying to

avoid gaining knowledge of.

       17.     Many of the employees Beacon Hill has targeted and raided now fill leadership

positions at Beacon Hill. For example, six out of eight members of the self-described

“leadership” team for BH Solutions, Beacon Hill’s managed services business, are recent former

Randstad employees. Indeed, BH Solutions did not even exist until Beacon Hill raided the

leadership and copied Randstad’s business model for its managed services business, Randstad

Corporate Services (“RCS”), in 2017. This flagrant breach of Randstad’s restrictive covenant

agreements2 resulting in Randstad’s filing two lawsuits against Beacon Hill.

       18.     When hiring more senior employees, Beacon Hill accounts for the likelihood of

potential restrictive covenant litigation by including in some offer letters an offer to pay for the

employee’s legal counsel—which is usually its own outside counsel—to defend against any


2
  The Employee Non-Competition and Confidentiality Agreement applicable to each employee is
identified by the employee’s last name followed by the word “Agreement.” Those agreements
are expressly incorporated herein.


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claims brought by a prior employer. For instance, Beacon Hill hired Bestreich, a former Vice

President at Randstad and now part of Beacon Hill’s leadership team in Dallas, Texas. In her

offer letter, Beacon Hill identified Randstad by name and included a promise to pay for her legal

counsel in the event that Randstad sued her for accepting employment with and working for

Beacon Hill.

       19.     Despite recognizing that Randstad would have a valid basis to initiate litigation

against Beacon Hill and Bestreich, Beacon Hill did nothing to prevent her from violating her

restrictive covenant agreement—even after it received a cease and desist letter from Randstad.

       20.     Through its strategy to interfere with restrictive covenants and obfuscate its hiring

of individuals in positions that violate their restrictive covenants, Beacon Hill illegally

capitalizes on goodwill and market share developed by Randstad and other competitors,

gambling that a competitor will not initiate a lawsuit if several weeks or months pass before the

employee is identified as working at a competitor.

       21.     By hiring employees in positions that violate their restrictive covenants, Beacon

Hill is able to establish viable offices in locations where it previously failed. For instance,

Beacon Hill attempted to establish a presence in Dallas in administrative staffing in 2011 and

2012, but the location did not become self-sufficient and collapsed. It was not until Beacon Hill

hired Bestreich in 2018, and encouraged her as an agent of Beacon Hill to recruit and hire others

from Randstad, that Beacon Hill was finally able to gain a foothold in Dallas. Beacon Hill

interferes with and blatantly ignores restrictive covenants in an effort to avoid the inherent

difficulties and costs in organically developing new business. It is easier to steal something than

to build it, as Beacon Hill has shown time and again.




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       22.        Just a few weeks after Randstad sent Bestreich and Wang, Beacon Hill’s CEO, a

cease and desist letter that included of Bestreich’s restrictive covenant agreement (the “Bestreich

Agreement”), Bestreich recruited Erik Adams, a former Randstad staffing manager and indirect

report. Even after receiving this cease and desist letter and after Randstad filed the Georgia

Litigation, Beacon Hill and Bestreich tortiously interfered with another Randstad employees’

agreement by soliciting Shauna Mooney, another former Randstad Branch Manager, to join her

at Beacon Hill.

       23.        As Beacon Hill is well aware, Bestreich, Adams, and Mooney are/were

contractually prohibited from working for a competitor such as Beacon Hill within the Restricted

Territory, as that term is defined in their agreements, for 12 months after leaving Randstad, and

from doing business with Randstad’s customers and hiring its employees for 18 months. Yet they

violated their contractual and legal obligations with the aid of Beacon Hill, as have other former

Randstad employees now working for Beacon Hill.

       24.        In an attempt to quell Beacon Hill’s assault and limit the harm to its business,

Randstad has sent letters to the employees and to Beacon Hill reminding them of the employees’

contractual and legal obligations and demanding compliance therewith, and even filed two

lawsuits based on Beacon Hill’s attempt to pilfer RCS’s leadership team.

       25.        But Beacon Hill remains undeterred in their raid of Randstad’s employees and,

indeed, Beacon Hill has become even more brash. After Randstad initiated the Georgia

Litigation, Beacon Hill continued to hire employees from Randstad knowing full well that it

hired them for positions that violated their restrictive covenant agreements with Randstad, and

even allowed (if not encouraged) Bestreich to solicit and hire Randstad employees, including by




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introducing Mooney to Beacon Hill the day after receiving notice of this lawsuit and inducing

Beacon Hill to hire Mooney in violation of her restrictive covenant agreement.

        26.    Beacon Hill has directly contacted more than 100 Randstad employees this year,

the vast majority of which would be performing the same job in the same market.

        27.    Beacon Hill’s improper and illegal interference with Randstad’s agreements is not

limited to a single rogue business manager or division. Nor is it limited to the hiring of Bestreich,

Adams, and Mooney. Rather, this flagrant disregard for restrictive covenants is built into how it

does business; it forms the basis for Beacon Hill’s growth strategy.

        28.    Beacon Hill hired at least nine Randstad employees in positions that violate their

agreements with Randstad during the Georgia Litigation alone and actively hid that information

from Randstad.

        29.    Beacon Hill also instructs its new hires from Randstad not to tell Randstad they

are going to work for Beacon Hill and to actively take measures to minimize the disclosure of

this fact.

        30.    Beacon Hill’s hires from Randstad routinely change their LinkedIn profiles to

indicate that they are no longer employed by Randstad but do not update their LinkedIn profile to

show that they are employed by Beacon Hill. This behavior is utterly illogical for recruiters, who

heavily rely on LinkedIn for work; but it is perfectly logical when viewed in the context of

Beacon Hill’s longer term growth strategy.

        31.    In at least one instance, a new Beacon Hill employee changed her employment

history to show that she was now employed at an “undisclosed” employer rather than publicly

identify herself as an employee of Beacon Hill.




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       32.     This duplicitousness continued in the Georgia Litigation. For example, as far back

as November 2019, Randstad asked Beacon Hill whether it hired Mark Cerretani, a former

Randstad Technologies employee. Beacon Hill refused to confirm that it hired Cerretani.

Furthermore, Cerretani, like other employees hired by Beacon Hill, refused to inform Randstad

where he was going to work. Even though Cerretani resigned in November 2019, he still lists

Randstad as his employer on his LinkedIn account. Despite multiple promises from Beacon

Hill’s counsel to inquire whether Beacon Hill hired Cerretani, Beacon Hill ignored Randstad’s

request. When Randstad finally confirmed that Cerretani had gone to work at Beacon Hill, it sent

cease and desist letters to Beacon Hill. Beacon Hill, however, refused to identify Cerretani’s new

title and simply responded that Cerretani was not working in a competitive role. Beacon Hill

refused to provide any more information despite multiple follow-up requests from Randstad’s

counsel. Delay and obfuscation of this nature is Beacon Hill’s modus operandi.

       33.     Beacon Hill’s misconduct continues to occur even as Randstad prepared this

Complaint. In July 2020, Randstad learned that Ashley Hooper, a former Delivery Manager for

Randstad, had accepted a position with Beacon Hill as an Account Executive. On information

and belief, Hooper’s position at Beacon Hill is substantially similar to her position at Randstad.



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       34.     And Beacon Hill’s improper and illegal conduct is not limited to hires in violation

of non-competition clauses. Beacon Hill also takes no measures to prevent its new hires from

violating non-solicitation provisions in restrictive covenant agreements and actively encourages

new hires to violate the non-solicit provisions.

       35.     Beacon Hill’s conduct is improper, unfair, and illegal. It must stop. Bestreich,

Adams, Mooney, Hooper, and numerous other employees are employed or have been employed

in positions with Beacon Hill that violate their restrictive covenants. Beacon Hill is complicit

with those breaches, among many others, and acknowledges that it does absolutely nothing to

prevent violations of restrictive covenants; in fact, it admittedly does not even want to know

about them. Unfortunately, because litigation of this sort is seen as just another cost of doing

business, or an investment by Beacon Hill—worth it if the cost of such is less than the benefit of

the misappropriated information and customer goodwill—the only way to ensure that Beacon

Hill ceases its illegal conduct is for the Court to enter broad injunctive relief and to award

Randstad substantial damages. A message must be sent to Beacon Hill that its conduct is unfair

and inappropriate.

       36.     This case is about Beacon Hill’s hiring practices generally. It is not limited to any

particular employee, division, office, or hire, no matter how hard Beacon Hill tries to frame it in

that manner (and it will). Bestreich, Adams, and Mooney are mere symptoms of Beacon Hill’s

malfeasance, they are not the cause. Nor will holding Beacon Hill accountable solely for those

three hires root out the underlying cause, which is Beacon Hill’s utter disregard for Randstad’s

enforceable restrictive covenant agreements with its employees. As the Court noted in the

Georgia Litigation: “To be sure, the Court is alarmed by Beacon Hill’s apparent disregard for the

fact that Randstad employees are generally bound by a covenant not to compete.” However, the




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Court found that Beacon Hill was not subject to personal jurisdiction in Georgia. There is no

jurisdictional issue here and, respectfully, this Court should be equally alarmed and should put a

stop to it once and for all.

        37.     The Court should also enter exemplary and punitive damages awards against

Beacon Hill for this wanton and intentional misconduct.

                               PARTIES, JURISDICTION, AND VENUE

        38.     Plaintiff Randstad General Partner (US), LLC is a Delaware limited liability

company with a corporate office and principal place of business located at One Overton Park,

3625 Cumberland Blvd S.E., Atlanta, GA 30339.

        39.     Plaintiff Randstad Technologies, LLC is a Delaware limited liability company

with a corporate office and principal place of business located at One Overton Park, 3625

Cumberland Blvd S.E., Atlanta, GA 30339.

        40.     Defendant Beacon Hill is a Massachusetts limited liability company with a

principal place of business located at 152 Bowdoin Street, Boston, Massachusetts 02108. Beacon

Hill maintains an office in Dallas, Texas and regularly transacts business in the State of Texas.

        41.     Beacon Hill is subject to the jurisdiction of this Court because it engaged in

tortious conduct in Dallas County, Texas. As described in detail in this Complaint, Beacon Hill,

as part of its pattern or practice of ignoring and/or failing to inquire regarding its candidates

restrictive covenants, hired and employed Bestreich, Adams, Mooney, Hooper, and others in

positions that violated their restrictive covenants. Beacon Hill is also subject to personal

jurisdiction in Texas because it did not challenge personal jurisdiction in its first motion under

Rule 12. See Fed. R. Civ. P. 12(g)(2), 12(h)(1).




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       42.       Defendant Bestreich is an individual who, upon information and belief, resides at

7137 Royal Lane, Dallas, Texas 75230. Until her resignation on June 14, 2018, Bestreich served

as Vice President, Market Sales, for Randstad. Bestreich is subject to the jurisdiction of this

Court because she is a resident and citizen of Texas.

       43.       Defendant Wang is an individual who resides at 315 Marlborough Street, Boston,

Massachusetts 02116. Wang is the current CEO of Beacon Hill and has a pivotal role in Beacon

Hill’s operations and strategy. Wang also personally prepares the offer letter for each Beacon

Hill employee.

       44.       Wang is subject to personal jurisdiction in Texas because he engaged in

intentional conduct specifically aimed at Texas, primarily by preparing offers of employment

and authorizing Beacon Hill to hire employees in positions that he knew violated their restrictive

covenant agreements. In doing so, Wang committed multiple tortious acts directed at Texas, in

furtherance of his strategy to grow Beacon Hill by hiring employees without regard to whether

the employee had a restrictive covenant agreement with his or her prior employer.

       45.       Wang has actively encouraged and developed a program or policy of interfering

with or violating restrictive covenant agreements, either directly or by directing individuals who

report to hire individuals without regard to whether they are subject to restrictive covenant

agreements. Wang is centrally responsible for fostering a culture at Beacon Hill that flouts

restrictive covenant agreements, as evidenced by Beacon Hill’s extensive litigation record,

Wang’s constant receipt of cease and desist letters, and his continued involvement in hiring

Randstad personnel even after the commencement of the Georgia Litigation.

       46.       Does 1-10 are additional Beacon Hill management personnel involved in assisting

Wang execute his scheme to gain premium talent and growth. Upon information and belief, Does




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1-10, the name and number of which are unknown, have directly and knowingly assisted Wang

in hiring Randstad personnel in complete disregard of Randstad’s restrictive covenant

agreements.

          47.   Subject matter jurisdiction exists because diversity of citizenship jurisdiction is

present under 28 U.S.C. § 1332(a).

          48.   Randstad General Partner (US), LLC is a limited liability company, and its

members are citizens of Delaware and Georgia. Thus, Randstad General Partner (US), LLC is a

citizen of Delaware and Georgia. Randstad Technologies, LLC is a limited liability company,

and its members are citizens of Delaware and Georgia. Thus, Randstad Technologies, LLC is a

citizen of Delaware and Georgia.

          49.   Beacon Hill is a limited liability company, and its members are ultimately citizens

of Massachusetts and Florida. Beacon Hill is not a citizen of Delaware or Georgia.

          50.   Wang is a resident and citizen of Massachusetts.

          51.   Bestreich is a resident and citizen of Texas.

          52.   Does 1-10 are fictitious entities and their citizenship is disregarded for purposes

of evaluating diversity of citizenship.

          53.   Thus, complete diversity is present because Plaintiffs are citizens of Delaware and

Georgia, and Defendants are citizens of Massachusetts, Florida, and Texas.

          54.   The amount in controversy requirement is also satisfied. Randstad seeks

compensatory damages, lost profits, and exemplary damages in excess of $5 million. Randstad

also seeks to recover its reasonable attorneys’ fees incurred in this action, as well as injunctive

relief.




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       55.     Venue is appropriate in Dallas County, Texas, because Defendants removed this

case to this Court from the county embracing this district. 28 U.S.C. § 1441(a).

                                  FACTUAL BACKGROUND

I.     RANDSTAD’S CONFIDENTIAL INFORMATION AND
       LEGITIMATE BUSINESS INTERESTS

       56.     Randstad is a leader in the staffing solutions industry. Randstad and its affiliates

and subsidiaries provide individual employees (“Talent”) to a diverse portfolio of businesses and

organizations (“Customers”) nationwide on a temporary or permanent basis to meet the

Customers’ needs. Randstad’s General Staffing Division (“RGS”), which Bestreich, Adams, and

Mooney, worked for, specializes in placing temporary employees in office, clerical, and light

industrial positions in a variety of industries. Randstad’s Technologies Division (“RT”), which

Hooper (with Betreich, Adams, and Mooney, the “Beacon Hill Hires”) worked for, specializes in

placing temporary employees in information technology roles.

       57.     The staffing industry is a highly competitive, specialized business that is

relationship-driven between customers, Talent, and the sales force. Through decades of hard

work, dedication, innovation and investment, Randstad has become a leader in the staffing

industry, including in the general staffing and information technology spaces.

       58.     Randstad invests heavily in developing and maintaining Customer relationships

and in attracting and retaining top employees and Talent for both its internal operations and for

assignments with its Customers.

       59.     Randstad’s success in the highly competitive staffing industry is directly

dependent on its staffing teams’ Customer and institutional knowledge and Randstad’s ability to

provide top quality Talent to its Customers, and top quality job placements to its Talent.




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       60.     To meet its Customers’ expectations and needs, Randstad has developed and

maintained, at great expense, valuable and long-standing working relationships and substantial

goodwill with its Customers.

       61.     Randstad has reasonably come to expect that its long-standing Customer

relationships will continue into the future.

       62.     Randstad’s employees, including the Beacon Hill Hires, receive substantial

training, information, business contacts, and other advantages that provide Randstad with a

competitive advantage in the marketplace.

       63.     The Beacon Hill Hires, through their employment with Randstad, gained unique

knowledge of and had access to Randstad’s trade secrets and other confidential and proprietary

information, including, without limitation, information relating to Randstad’s business strategies,

finances, methodologies, processes, operations, pricing, Customers, Talent and employees

(“Confidential Information”).

       64.     The Confidential Information to which the Beacon Hill Hires and other former

Randstad employees now working for Beacon Hill had access during their employment with

Randstad is critical to Randstad’s competitive position in the staffing industry.

       65.     Randstad developed such Confidential Information at significant expense and

effort over a number of years, such information is not generally available to the public or

Randstad’s competitors, and Randstad derives economic value from this information.

       66.     Randstad also takes reasonable efforts to maintain the confidentiality of such

information, including having its employees with access to such information sign confidentiality

agreements and using password protected computers and password protected log-ins to

Randstad’s databases.




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       67.     Randstad also requires many of its employees to execute employment agreements

containing restrictive covenants to protect its confidential information.

       68.     Additionally, Randstad employees, including the Beacon Hill Hires and other

former Randstad employees now working for Beacon Hill, are bound by the Randstad Internal

Employee Handbook (the “Employee Handbook”), which provides in part at Section 13:

       All property, equipment, and materials supplied to you by Randstad or its client
       ("Property") are deemed to be the Property of Randstad or its client and not your
       personal property. This Property includes, but is not limited to, Resources
       (defined Subsection 14.1), badges, corporate credit cards, access cards, keys,
       office supplies, office equipment, and office furniture. Property also includes
       documents, data, certain inventions, certain copyrightable works of authorship,
       confidential information, and trade secrets.

                                          *      *       *

       Associates may not misuse or make unauthorized disclosures of non-public,
       confidential information (including trade secrets) that is acquired during the
       course of employment with Randstad. The confidential information of Randstad
       and its clients should be held in trust and confidence, not disclosed to any third
       party, and only used for the advancement of Randstad and/or client's interests,
       either during employment or following termination of employment for any
       reason. Examples of confidential information include, but are not limited to, non-
       public, proprietary details about Randstad and/or its client’s strategies, operational
       plans, pricing, financial information and forecasts, personnel information, payroll
       information, personally identifiable information, protected health information and
       trade secrets. No copies, abstracts or summaries of such materials may be made
       except for use in performing duties for Randstad or its client. Any such materials
       must be returned to Randstad prior to leaving Randstad. If any non-public
       information is requested by anyone outside of Randstad, the appropriate
       managing director and/or Legal should be notified. Until an Associate obtains
       proper guidance, the requested information should not be disclosed.


       69.     Section 13.5 of the Employee Handbook provides in part:

       Upon request by Randstad or its client, at any time, and in any event upon
       termination of the Associate’s employment with Randstad for any reason,
       Associates shall promptly deliver to Randstad all Property, defined above, within
       their possession or control. If any Property belonging to the Customer or
       Randstad is not returned, you will be subject to any and all remedies available




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       under applicable law for the recovery of such Property. At a minimum, you will
       be responsible for the replacement value of such Property.

       70.     Additionally, Randstad informs employees that Randstad’s computer networks

and resources are “critical business assets and are the Property of Randstad and/or its customer.”

The Handbook further provides that that:

       Users are responsible for taking appropriate security measures when transmitting
       or storing sensitive or confidential information. Because electronic transmissions,
       including Internet transmissions, e-mail and instant messages, may be accessible
       by outside individuals, sensitive or confidential information should never be
       transmitted electronically unless it is encrypted or otherwise protected in
       accordance with Randstad’s U.S. Data Protection Policy, available on the Legal
       pages of Randstad Connect and Workplace. Sensitive and/or confidential business
       information and documents should not be displayed on terminals when anyone
       other than an authorized User is present. Confidential and/or sensitive documents
       should not be stored in a database or on a system where unauthorized persons can
       access them.

       71.     With respect to protection of passwords, the Handbook instructs employees to be

responsible for securing passwords and identification codes, as well as periodically change them

to prevent unauthorized access to Randstad systems.

       72.     Randstad undertakes these extensive measures to protect its Confidential

Information because, if Randstad’s Confidential Information were to fall into the hands of a

competitor, such as Beacon Hill, Randstad’s competitive position would be severely harmed, and

the competitor would be able to trade on many years’ worth of valuable accumulated knowledge.

Likewise, if a former employee, such as the Beacon Hill Hires, retained Randstad’s Confidential

Information after their employment ended and/or used the Confidential Information while

working for a competitor, Randstad’s competitive position would be seriously harmed and both

the Beacon Hill Hires and Beacon Hill would have an unfair competitive advantage.




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        73.        Beacon Hill considers similar information, including its business strategies,

customer lists, and customer information, to be confidential and proprietary and employs

measures, such as the use of restrictive covenant agreements, to protect its information.

II.     BEACON HILL AND RANDSTAD ARE COMPETITORS

        74.        Randstad and Beacon Hill are direct competitors across the United States. Both

companies provide staffing services to their clients. While the companies have a different

operating structure, their services substantially overlap in all material respects.

        75.        For example, Randstad General Staffing is a Randstad operating company that

focuses on placing Talent in office and administrative positions (also called “O&A”), as well in

accounting, customer service, human resources, and other similar positions in direct hire,

temporary staffing, and temporary-to-permanent roles. Beacon Hill has a similar division that is

referred to as Beacon Hill Associates, and this entity focuses on the same general job

classifications.

        76.        Similarly, Randstad Technologies is a Randstad operating company that focuses

on technology placements and consulting services, including software engineers, network

administrators, systems analysts, and other positions in the information technology space.

Beacon Hill Technologies, a division of Beacon Hill, focuses on the same placement and

consulting services.

        77.        Randstad and Beacon Hill frequently compete against each other for the same

portfolios of work, as is evident when comparing job placement listings on their respective

websites. Randstad and Beacon Hill post open positions for temporary, temp-to-perm, and

permanent placements on their respective websites, and the companies greatly overlap in the

types, forms, and categories of staffing services they provide to their clients.




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       78.     Because the basic function of staffing companies—the provision of staffing

services—is consistent across service providers, staffing companies must distinguish themselves

on the caliber of their personnel, their ability to efficiently provide staffing services, and the

quality of the Talent that the staffing companies are able to provide.

       79.     As detailed below, rather than organically develop its own employees, Beacon

Hill relies on its competitors, like Randstad, to develop and invest in personnel and establish

customer relationships and then hires those employees, placing the employees in the same

market, performing the same services, and often soliciting the same customers.

III.   BEACON HILL’S PATTERN OF RAIDING COMPETITORS AND
       FLAGRANTLY VIOLATING RESTRICTIVE COVENANT
       AGREEMENTS

       80.     Since its inception, Beacon Hill has pursued a strategy of growing by poaching

employees from competitors, without regard to whether the employee is subject to any restrictive

covenant agreements. Indeed, Beacon Hill’s website boasts that, under Wang’s leadership,

Beacon Hill has grown from fewer than 10 to more than 600 employees. It omits, however, that a

large portion of that growth has occurred because of Beacon Hill’s illegal poaching of its

competitors’ employees to “acqui-hire” customer relationships, in violation of restrictive

covenant agreements.

       81.     As a result, Beacon Hill is constantly defending itself against tortious interference

claims based on alleged violations of restrictive covenant agreements. Beacon Hill has been a

defendant in more than 20 trade secret or restrictive covenants lawsuits since 2011, including the

following:

       (a)     TEKsystems, Inc. v. Beacon Hill Staffing Group, LLC, et al., No. 3:11-cv-00767-
               bbc (W.D. Wis.): Beacon Hill sued for misappropriation of trade secrets and
               tortious interference with a restrictive covenant agreement.




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     (b)   Update, Inc. v. Beacon Hill Staffing Group, LLC, et al., No. 1:12-cv-05295-PAC
           (S.D.N.Y.): Beacon Hill sued for misappropriation of trade secrets and tortious
           interference with restrictive covenant agreements.

     (c)   Internal Data Resources, Inc. v. Beacon Hill Staffing Group, LLC, et al., No.
           1:14-cv-01860-RWS (N.D. Ga.): Beacon Hill sued for tortious interference with a
           restrictive covenant agreement.

     (d)   TEKsystems, Inc. v. Beacon Hill Staffing Group, LLC, et al., No. 0:14-cv-00196-
           JRT-JJK (D. Minn.): Beacon Hill sued for tortious interference with a restrictive
           covenant agreement and for misappropriation of trade secrets.

     (e)   Randstad General Partner (US) LLC v. Beacon Hill Staffing Group, LLC, et al.,:
           Beacon Hill sued for tortious interference with a restrictive covenant agreement
           and for misappropriation of trade secrets.

                 Randstad sought and obtained a TRO against Beacon Hill.

     (f)   Convergenz LLC v. Beacon Hill Staffing Group LLC, No. 1:14-cv-01864-ABJ
           (D.D.C.): Beacon Hill sued for tortious interference with a restrictive covenant
           agreement and for misappropriation of trade secrets.

     (g)   Kforce Inc. v. Beacon Hill Staffing Group LLC, et al., No. 4:14-cv-01880-CDP
           (E.D. Mo.): Beacon Hill sued for tortious interference with a restrictive covenant
           agreement and for misappropriation of trade secrets.

     (h)   APFS LLC v. Beacon Hill Staffing Group, LLC et al., No. 2015-CH-3301 (Cook
           Cty. Cir. Ct. 2015): Beacon Hill sued for tortious interference with a restrictive
           covenant agreement by encouraging a new hire to solicit clients, in violation of
           the employee’s restrictive covenant agreement.

     (i)   Insight Global LLC v. Beacon Hill Staffing Group, LLC, et al., No. 15SL-
           CC02718 (St. Louis Cty. Cir. Ct. Mo.): Beacon Hill sued for tortiously interfering
           with a restrictive covenant agreement.

     (j)   Solomon Edwards Group LLC v. Beacon Hill Staffing Group, LLC et al., No.
           2015-21048 (Montgomery Cty., Pa.): Beacon Hill sued for tortiously interfering
           with a restrictive covenant agreement.

     (k)   Computer Enterprises Inc. v. Beacon Hill Staffing Group, LLC, et al., No. GD-15-
           13967 (Allegheny Ct. Common Pleas, Pa.): Beacon Hill sued for tortiously
           interfering with restrictive covenant agreement.

     (l)   Diversant, LLC v. Beacon Hill Staffing Group LLC, No. 3:15-cv-00172-RJC-DSC
           (W.D.N.C.): Beacon Hill sued for tortious interference with a restrictive covenant
           agreement and for misappropriation of trade secrets.




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     (m)   Robert Half International, Inc. v. Beacon Hill Staffing Group, LLC et al., No. 15-
           2-15320-0 (King Cty. Super. Ct., Wa.): Beacon Hill sued for tortious interference
           with restrictive covenants and misappropriation of trade secrets.

     (n)   Modis, Inc. v. Diet, No. 4:15-cv-00110-SMR-RAW (S.D. Iowa): Modis
           subsequently amended its complaint to add Beacon Hill as a defendant and
           asserted claims against Beacon Hill for tortious interference with a restrictive
           covenant agreement and for misappropriation of trade secrets.

     (o)   Insight Global, LLC v. Beacon Hill Staffing Group, LLC, et al., No. 5:17-cv-
           00309-BLF (N.D. Cal.): Beacon Hill sued for tortious interference with a
           restrictive covenant agreement and for misappropriation of trade secrets.

     (p)   Randstad General Partner (US) LLC v. Beacon Hill Staffing Group, LLC, et al.,
           No. 1:17-cv-00680-ELH (D. Md.): Beacon Hill sued for tortious interference with
           a restrictive covenant agreement and for misappropriation of trade secrets.

     (q)   Randstad General Partner (US) LLC v. Beacon Hill Staffing Group, LLC, et al.,
           No. 1:17-cv-10404-ADB (D. Mass.): Beacon Hill sued for tortious interference
           with a restrictive covenant agreement and for misappropriation of trade secrets.

     (r)   Insight Global, LLC v. Beacon Hill Staffing Group, LLC, et al., No. 1:17-cv-
           01915-MSK-MJW (D. Colo.): Beacon Hill sued for tortious interference with a
           restrictive covenant agreement and for misappropriation of trade secrets.

                 Insight Global alleged that Beacon Hill “has conducted and continues to
                  conduct an unlawful employee-raiding campaign of Insight Global’s then-
                  current and former employees.”

                 Insight Global also alleged that, in the month preceding the complaint,
                  Beacon Hill had hired no fewer than five Insight Global employees and
                  accused BSHG of concealing its hires from Insight Global.

     (s)   Insight Global, LLC v. Beacon Hill Staffing Group, LLC, et al., No. 4:17-cv-
           02440 (S.D. Tex.): Beacon Hill sued for tortious interference with a restrictive
           covenant agreement and for misappropriation of trade secrets.

     (t)   Aerotek, Inc. v. Beacon Hill Staffing Group, LLC, et al., No. 4:17-cv-02469-HEA
           (E.D. Mo.): Beacon Hill sued for tortious interference with a restrictive covenant
           agreement and for misappropriation of trade secrets.

     (u)   Robert Half International, Inc. v. Beacon Hill Staffing Group, LLC, et al., No.
           1:18-cv-01001-APM (D.D.C.): Beacon Hill sued for tortious interference with a
           restrictive covenant agreement and for misappropriation of trade secrets.

     (v)   Insight Global, LLC v. Beacon Hill Staffing Group, LLC, et al., No. 1:17-cv-
           08323-PGG (S.D.N.Y.): Beacon Hill sued for tortious interference with a
           restrictive covenant agreement and for misappropriation of trade secrets.


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                     Insight Global reiterated its claim in previous litigation that “[c]ompeting
                      unfairly for employees — including by inducing employees to breach their
                      contracts with competitors — is Beacon Hill’s business model.”

                     Insight Global noted that “Beacon Hill has been sued almost thirty times
                      over the last eleven years in similar cases by nmany competitors in the
                      staffing industry.”

                     Insight Global also claimed that “it is Beacon Hill’s modus operandi to
                      conceal its hires of former Insight Global employees from Insight Global
                      (by, for example, instructing the employees to not update their LinkedIn
                      profiles to disclose their employment with Beacon Hill).”

       (w)    Peopleshare LLC v. Beacon Hill Staffing Group Inc. [sic], No. 2019-15863
              (Montgomery Cty., PA): Beacon Hill sued for breach of contract. The Court
              entered a preliminary injunction against Beacon Hill.

       (x)    Randstad General Partner (US), LLC v. Beacon Hill Staffing Group, LLC, et al.,
              No. 1:19-cv-1655-ODE (N.D. Ga.): Beacon Hill sued for tortious interference
              with restrictive covenant agreements.

       82.    These lawsuits, and any negotiated resolutions thereof, are relevant not only

because they illustrate that hiring from competitors without regard for those competitors’

restrictive covenant agreements with their employees is Beacon Hill’s modus operandi, and that

it considers litigation just another cost of doing business, but also because Beacon Hill’s

acceptance and implementation of limited no-hire agreements demonstrates that creating and

implementing effective restrictive covenant screening procedures is feasible. Such litigation and

settlements also establishes that Beacon Hill rescinds any screening measures unless they are

contractually obligated to maintain them, demonstrating their willful disregard for restrictive

covenants and bad faith.

       83.    Beacon Hill’s practice, implemented by Wang and its leadership team, is quite

uniform. The company will ignore a competitor’s restrictive covenant agreement, solicit the

employee, hire the employee into an area they are restricted from working in, in a role they are

prohibited from performing, and promise to defend the employee against any legal action



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brought by the former employer, which Beacon Hill views as a cost of doing business. After the

suit is filed, Beacon Hill will then almost always file a motion to dismiss in an attempt to avoid

discovery, then attempt to resolve the litigation for a short mutual no-hire period or something of

that nature.

       84.     Beacon Hill will then enter into a confidential settlement agreement to resolve the

matter, then continue the same course of conduct that leads them to inevitably violate later

restrictive covenant agreements. By operating in this manner, their behavior is akin to a company

that tolerates widespread sexual harassment by paying off harassed employees rather than take

any steps to comply with the law.

       85.     Despite this immense amount of litigation, according to its corporate

representative’s deposition, Beacon Hill has never had internal discussions about hiring

employees from competitors that employ restrictive covenants.

       86.     Randstad is a frequent target for Beacon Hill. Beacon Hill has hired over 40

Randstad employees since 2005.

       87.     According to LinkedIn, there are 72 employees who currently work at Beacon

Hill who previously worked for Randstad.3

       88.     Beacon Hill incessantly targets Randstad employees and attempts to solicit them

to leave Randstad and join Beacon Hill in roles that violates an applicable restrictive covenant

agreement. In fact, since July 1, 2020, Beacon Hill and/or recruiters working on Beacon Hill’s

behalf of solicited over 100 Randstad employees for jobs at Beacon Hill.




3
  This search was performed by searching for individuals who list their current company as
Beacon Hill Staffing Group and who list Randstad, Randstad USA, or Randstad Technologies as
a previous employer.


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       89.       Beacon Hill does not ask candidates whether they are subject to restrictive

covenant agreements when considering them for employment.

       90.       Beacon Hill’s administrative division (also known as Beacon Hill Associates)

does not ask candidates whether they are subject to restrictive covenant agreements when

considering them for employment.

       91.       Beacon Hill’s information technology staffing division (also known as Beacon

Hill Technologies) does not ask candidates whether they are subject to restrictive covenant

agreements when considering them for employment.

       92.       Beacon Hill’s other divisions do not ask candidates whether they are subject to

restrictive covenant agreements when considering them for employment.

       93.       Beacon Hill’s divisions do not take measures to ensure that newly hired

employees comply with non-solicitation obligations.

       94.       Beacon Hill is aware that Randstad uses restrictive covenant agreements.

Randstad has sent multiple cease and desist letters to Beacon Hill and initiated litigation against

Beacon Hill. Even after Wang received numerous cease and desist letters from Randstad, he

continues to authorize and implement Beacon Hill’s strategy to grow by violating restrictive

covenants—a strategy that other competitors do not emulate because they do not wish to

routinely violate the law. As a result, Beacon Hill and Wang nonetheless continue to hire

Randstad employees without making any efforts to determine whether that individual would be

placed in a role that violates Randstad’s restrictive covenants.

       95.       Since 2016 alone, Beacon Hill has hired dozens of Randstad employees, including

at least 10 who Beacon Hill hired for leadership positions. Some of its significant hires include

the following.




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        (a)   On or about April 2016, Beacon Hill hired Lindsey Paskvan, the Sales
              Director, National Strategic Organization for Randstad Technologies.

        (b)   On or about August 2016, Beacon Hill hired Ashlie Moseley, an Account
              Executive for Randstad North America.

        (c)   On or about December 2016, Beacon Hill hired John Williams, a Senior
              Regional Vice President for Randstad Corporate Services.

        (d)   On or about December 2016, Beacon Hill hired Kathleen Keliher, a Senior
              Vice President for Randstad Corporate Services.

        (e)   On or about March 2017, Beacon Hill hired Mark Todd, the Director of
              Business Development - Integrated Talent Solutions for Randstad Sourceright.

        (f)   On or about March 2017, Beacon Hill hired Christina Ethridge, the Team
              Lead for Randstad Corporate Services.

        (g)   On or about May 2017, Beacon Hill hired Karen Rigano, a Senior Account
              Executive for Randstad Technologies.

        (h)   On or about July 2017, Beacon Hill hired Shakira Irizarry, the Managing
              Director - Preferred Clients for Randstad Life Sciences.

        (i)   On or about October 2017, Beacon Hill hired John D’Agostino, a Strategic
              Account Director for Randstad Technologies.

        (j)   On or about November 2017, Beacon Hill hired Reed Goodman, the Director
              of Business Development for Randstad Sourceright.

        (k)   On or about January 2018, Beacon Hill hired Bailey Ulrich, an Account
              Manager for Randstad Technologies.

        (l)   On or about June 2018, Beacon Hill hired Shawna Bestreich, the Vice
              President, Market Sales for Randstad General Staffing.

        (m)   On or about July 2018, Beacon Hill hired Theo Carmone, a Technical
              Recruiter for Randstad Technologies.

        (n)   On or about August 2018, Beacon Hill hired Matthew O’Neil, a Technical
              Recruiter for Randstad Technologies.

        (o)   On or about September 2018, Beacon Hill hired Erik Adams, a Staffing
              Manager for Randstad General Staffing.

        (p)   On or about October 2018, Beacon Hill hired Todal Patel, a Practice Director
              for Randstad North America.




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        (q)    On or about January 2019, Beacon Hill hired Joseph Lucchese, a Technical
               Recruiter at Randstad Technologies.

        (r)    On or about February 8, 2019, Beacon Hill hired Edward Darisse, a Program
               Manager for RCS.

        (s)    On or about March 2019, Randstad hired Brittany Jeffries, a Technical
               Recruiter for Randstad Technologies.

        (t)    On or about April 2019, Randstad hired Meghan Ledden, a Technical
               Recruiter for Randstad Technologies.

        (u)    On or about June 11, 2019, Beacon Hill hired Shauna Mooney, a Branch
               Manager for Randstad General Staffing.

        (v)    On or about November 2019, Beacon Hill hired Mark Cerretani, the Area
               Recruiting & Immigration Director for Randstad Technologies.

        (w)    On or about November 2019, Beacon Hill hired Mitchel Gaffney, a Technical
               Recruiter for Randstad Technologies.

        (x)    On or about January 2020, Beacon Hill hired Kevin D’Entremont, a
               Recruiting Director for Randstad Technologies.

        (y)    In or around March 2020, Beacon Hill hired Caitlin Murdoch, a Recruiting
               Director for Randstad Technologies.

        (z)    In or around March 2020, Beacon Hill hired Abbey Rose, a Staffing Manager
               for Randstad General Staffing.

        (aa)   In or around March 2020, Beacon Hill hired Victoria Ragan, a Strategic
               Account Manager for Randstad Technologies.

        (bb)   In or around April 2020, Beacon Hill hired Ashley Hooper, a Delivery
               Manager with Randstad Technologies.

        (cc)   In or around May 2020, Beacon Hill hired Lou Weidman, an Account
               Executive for Randstad Technologies.

        (dd)   In or around June 2020, Beacon Hill hired Jamie Ferguson, the Director of
               Training - Sales for Randstad.

        (ee)   In August 2020, Beacon Hill hired Daniel Blazek, a Technical Recruiting
               Director for Randstad Technologies.

        (ff)   In or around September 2020, Beacon Hill hired Sam Major, a Technical
               Lead: Client Engagement and Consulting for Randstad Technologies.




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             (gg)   In or around September 2020, Beacon Hill hired Lisette Robles, an Account
                    Manager for Randstad Technologies.

       96.      Through the course of its operations, Beacon Hill, led by Wang, has developed a

program that is too consistent and uniform across its divisions to come from a source other than

Beacon Hill’s leadership.

       97.      On information and belief, Beacon Hill instructs its external recruiters to convince

candidates to interview by telling them that a non-compete is “not a problem” for this role, or

something to that effect.

       98.      Beacon Hill initially contacts Randstad candidates to discuss a position. If the

candidate raises concerns about a non-compete, Beacon Hill will tell the candidate not to worry

about any restrictive covenants, that the company will take care of them in any litigation, and

that the candidate should focus on producing.

       99.      During the recruitment process, Beacon Hill will not ask the employee for a copy

of any restrictive covenant agreement. Beacon Hill therefore does nothing to attempt to comply

with any applicable agreement even when it knows that the competitor, like Randstad, has its

employees sign restrictive covenant agreements.

       100.     If the candidate accepts an offer, Beacon Hill tells the employee to resign without

notice to the candidate’s current employer and to tell the candidate’s main clients that they are

leaving for a “growth opportunity” with a new company. The candidate is then advised to not

change his or her LinkedIn profile, and Beacon Hill also tells the candidate to not tell his or her

current employer that he or she is joining Beacon Hill. The candidate should then refrain from

contacting clients for some period of time, then re-connect with their client. This delay also

makes it less likely for the candidate’s former employer to notice improper competitive activity




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and act on it by filing a motion for a temporary restraining order or other preliminary injunctive

relief.

          101.   Beacon Hill has followed this program in Texas and across the United States.

Despite Beacon Hill’s actual and/or constructive knowledge of Randstad’s Agreements with

these individuals, yet it hired them in knowing violation thereof in an effort to interfere therewith

and to compete unfairly by gaining access to and exploiting Randstad’s confidential information,

trade secrets, and customer goodwill, as well as to improperly and illegally solicit and encourage

other Randstad employees to leave Randstad and to join Beacon Hill.

          102.   Beacon Hill routinely hires Randstad employees and places them in positions with

the same title (or the Beacon Hill equivalent of their Randstad title) in the same geographic

territory, performing the same or substantially similar duties, including the following:

Employee                  Randstad Title           Beacon Hill Title         Location of
                                                                             Randstad and
                                                                             Beacon Hill Positions
Bailey Ulrich             Account Manager          National Account          Charlotte, NC
                                                   Manager
Brittany Jeffries         Technical Recruiter      IT Staffing Consultant    Raleigh-Durham, NC
Daniel Blazek             Technical Recruiting     Senior Managing           Minneapolis, MN
                          Director                 Consultant
Abbey Rose                Staffing Manager         Staffing Consultant       Nashville, TN
Ashley Hooper             Delivery Manager         Account Executive         Dallas, TX
Shauna Mooney             Branch Manager           Senior Managing           Dallas, TX
                                                   Consultant
Shawna Bestreich          Vice President,          Division Director         Dallas, TX
                          Market Sales
Jamie Ferguson            Director of Training,    Learning and              Raleigh-Durham, NC
                          Sales                    Development
                                                   Manager
Sam Major                 Technical Lead:          Client Engagement         Raleigh-Durham, NC
                          Client Engagement        Consultant
                          and Consulting




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       103.    By pursuing this strategy, Beacon Hill is able to capitalize on premium talent in

the marketplace and avoid the expenses and costs associated with training these employees and

organically acquiring additional business in the marketplace.

       104.    Beacon Hill’s improper solicitations of Randstad employees are not limited to

discrete hires. As noted above, in October 2017, Randstad filed two separate lawsuits against

Beacon Hill arising out of Beacon Hill’s raiding of the senior leadership of its RCS division.

Prior to hiring Randstad’s RCS leadership team, Beacon Hill did not have a Managed Services

Program (“MSP”), which is a comprehensive program designed to support large companies with

substantial staffing needs that extends well beyond traditional contingent workforce supplier

management to cover full spectrum talent needs, including employee recruiting support,

contractor retention programs, supplier engagement strategies and payrolling services. An MSP

in the staffing industry refers to an outsourced agency that manages the contingent worker

(temporary staffing) program of a client company. They ensure the smooth day-to-day operations

of pulling requirements from clients, the preferred vendors submitting candidates, onboarding of

selected candidates and the ongoing management of temporary workers at the client company for

the duration of the contract.

       105.    Rather than creating a managed services division organically, like Randstad had

done, Beacon Hill stole RCS’s top leadership and, indeed, its business model. Following an

informal mediation, Randstad believed the parties had reached an agreement, only to have

Beacon Hill renege on its agreements the following day and to spend the next several months

attempting to get concession after concession from Randstad.4



4
  The parties were able to eventually reach an agreement despite Beacon Hill’s best efforts to
alter the terms of the deal the parties had agreed to at the informal mediation.


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         106.    That same pattern has repeated twice in different Beacon Hill divisions in the

Dallas area. In the Beacon Hill Associates division, Bestreich successfully recruited at least two

Randstad employees—Adams and Mooney5—and attempted to recruit others, to leave Randstad

and join Beacon Hill. And after Randstad filed the Georgia Litigation, Beacon Hill hired Ashley

Hooper, a Randstad Technologies employee, in a role that violates her restrictive covenant

agreement.

         A.      Bestreich’s Employment With Randstad and Employment Agreement

         107.    Bestreich joined Randstad as the Vice President, Market Sales, on January 19,

2016. While employed by Randstad, Bestreich worked for Randstad in Dallas, Texas and,

according to her own biography on Beacon Hill’s website, “oversaw multiple divisions and

office locations across Texas.”

         108.    As a condition of her employment, on January 16, 2016, Bestreich received and

signed the Bestreich Agreement, which includes restrictions on Bestreich’s ability to compete

against Randstad, to solicit Randstad’s customers, and to solicit Randstad’s employees.

         109.    On June 14, 2018, Bestreich resigned from Randstad. She claimed that she was

dissatisfied with her role, but she did not inform Randstad that she was leaving to join a

competitor.

         110.    On or about June 18 2018, Bestreich began working as a Division Director for

Beacon Hill in Dallas, Texas. Beacon Hill is a direct competitor to Randstad and specializes in

office, clerical, light industrial, and information technology staffing services.

         111.    On or about July 24, 2018, Randstad sent Bestreich and Wang a letter reminding

them of Bestreich’s obligations to Randstad. The letter included a copy of the Bestreich


5
    Beacon Hill also hired several other Randstad employees after they resigned from Randstad.


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Agreement. Bestreich received the letter soon after Randstad sent it and forwarded it to Charlie

Cain, a Managing Director, member of Beacon Hill’s Executive Committee, and her direct

supervisor. Cain admittedly did not review the letter closely or take any steps to ensure that

Bestreich complied with her contractual obligations to Randstad. Neither Bestreich nor Beacon

Hill responded to the letter.

       112.    After Beacon Hill hired Bestreich, Beacon Hill knew that she was subject to the

Bestreich Agreement because Randstad sent a cease and desist letter to Bestreich and to Wang

and because Bestreich knew that she was subject to the Bestreich Agreement. Beacon Hill

ignored the letter and continued to employ Bestreich in a position that violates the Bestreich

Agreement.

       113.    Beacon Hill did not take any action to prevent Bestreich from violating the

Bestreich Agreement.

       114.    As discussed above, Beacon Hill’s status as a serial violator of restrictive

covenant agreements, including Randstad’s, indicate that Beacon Hill, notwithstanding these

continuing obligations, hired and continued to employ Bestreich in a role that necessarily caused

Bestreich to violate her obligations to Randstad. When hiring Bestreich, Beacon Hill followed its

pattern or practice of ignoring and failing to inquire about whether a candidate is bound by

restrictive covenants.

       115.    Indeed, Bestreich’s employment with Beacon Hill is a blatant violation of the

non-compete covenant in Section 4(d) of the Bestreich Agreement, which expressly prohibits

Bestreich from, among other activities, (i) “providing products or services competitive with the

Business of the Company,” (ii) “supervising employees or other personnel who provide products

or services competitive with the Business of the Company,” (iii) developing or implementing




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strategies or methodologies related to products or services competitive with the Business of the

Company,” and; or (iv) “engaging in responsibilities in which Employee would utilize or

disclose Confidential Information.”

        116.    During Bestreich’s employment with Beacon Hill, she solicited customers with

whom she had material contact at Randstad and actually placed Talent with those customers.

        117.    During Bestreich’s employment with Beacon Hill, she had conversations with

Randstad employees about leaving Randstad and/or joining Beacon Hill.

        B.      Adams’s Employment With Randstad and Employment Agreement

        118.    Adams joined Randstad as a Staffing Manager - NCHC, on July 17, 2017. While

employed by Randstad, Adams worked for Randstad in Dallas, Texas.

        119.    As a condition of his employment, on July 17, 2017, Adams received and signed

the Adams Agreement, which contains substantially similar provisions to the Bestreich

Agreement.

        120.    On or about September 21, 2018, Adams informed Randstad that he was resigning

to join a competitor.

        121.    On or about October 2018, Adams began working as a Senior Account Executive

for Beacon Hill in Dallas, Texas. Beacon Hill is a direct competitor to Randstad and specializes

in officer, clerical, and light industrial staffing services.

        122.    Beacon Hill solicited and hired Adams with knowledge of Adams’s continuing

obligations to Randstad.

        123.    Indeed, Bestreich both solicited and hired Adams and even signed his offer letter

on behalf of Beacon Hill.

        124.    At the time Beacon Hill hired Adams, Beacon Hill had actual or constructive

knowledge that Adams was subject to the Adams Agreement because Beacon Hill is aware


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Randstad requires employees to sign restrictive covenant agreements due to its repeated

infringement of those agreements with other former employees.

       125.    At the time Beacon Hill hired Adams, Beacon Hill had actual or constructive

knowledge that Adams was subject to the Adams Agreement because Bestreich, an agent of

Beacon Hill, knew that Adams was subject to the Adams Agreement, as she had signed the same

agreement and knew that all non-California Randstad employees were subject to it, received

discipline while employed at Randstad relating to taking action adverse to a restrictive covenant

agreement, and received a cease and desist letter regarding the Bestreich Agreement.

       126.    As discussed above, Beacon Hill’s status as a serial violator of restrictive

covenant agreements, including Randstad’s, indicate that Beacon Hill, notwithstanding these

continuing obligations, hired Adams in a role that caused Adams to violate his obligations to

Randstad. When hiring Adams, Beacon Hill followed its pattern or practice of ignoring and

failing to inquire about whether a candidate is bound by restrictive covenants.

       127.    Indeed, Adams’s employment with Beacon Hill was a blatant violation of the

non-compete covenant in Section 4(d) of the Agreement, which expressly prohibits Adams from,

among other activities, (i) “providing products or services competitive with the Business of the

Company,” (ii) “supervising employees or other personnel who provide products or services

competitive with the Business of the Company,” (iii) developing or implementing strategies or

methodologies related to products or services competitive with the Business of the Company,”

and; or (iv) “engaging in responsibilities in which Employee would utilize or disclose

Confidential Information.”




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       C.      Mooney’s Employment With Randstad and Employment Agreement

       128.    Mooney joined Randstad as an Account Manager in November 2014. While

employed by Randstad, Mooney worked for Randstad in Dallas, Texas. Randstad later promoted

Mooney to Senior Account Manager, Assistant Branch Manager, and Branch Manager.

       129.    As a condition of her employment, on April 18, 2016, Mooney received and

signed the Mooney Agreement, which contains substantially similar provisions to the Bestreich

Agreement.

       130.    On March 11, 2019, Bestreich and Beacon Hill learned that Randstad had filed

the Georgia Litigation against them.

       131.    The next day, Bestreich forwarded Mooney’s resume to Charlie Cain with the

following note: “Probably not the best timing with yesterday’s news, but . . . !” Bestreich

admitted that this was a reference to having received Randstad’s lawsuit the prior day. In

addition, Bestreich told Cain that Mooney “worked for me at Randstad an she was extremely

impressive”; suggested that she was “not sure where [Mooney] would fit in at BH but wanted to

forward her resume along to see if [Cain] may want to connect”; noted that Mooney “ran our

[Randstad’s] preferred team, and basically acted as an account manager/recruiter for

national/strategic accounts”; and suggested that Mooney “could do an awesome job [at Beacon

Hill] if she solely focused on growing our vms business . . . she may even be good for Kathleen’s

team.” (Kathleen was a reference to Kathleen Keliher, another former Randstad employee that

Beacon Hill had hired and who Randstad sued for violating her restrictive covenant agreement).

       132.    On May 15, 2019, Bestreich again contacted Cain about hiring Mooney for a role

at Beacon Hill, describing her as an “absolute rockstar” and requesting that Cain set up a time to

speak with Mooney. Indeed, Bestreich further told Cain that Mooney “is miserable over at

Randstad and is wanting to make a movie [sic]” and “really is strong, and I think she is the type


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of person that would be a good fit/recruiting lead.” Later that day, Bestreich connected Mooney

and Cain by e-mail.

        133.     On or about June 11, 2019, Beacon Hill extended an offer to Mooney for a role as

a Senior Staffing Consultant. Wang prepared Mooney’s offer letter, and Bestreich signed the

offer letter extended the offer on behalf of Beacon Hill.

        134.     On or about June 2019, Mooney informed Randstad that she was resigning to join

a competitor. She did not inform Randstad that she would be joining Beacon Hill or that

Bestreich solicited her to leave Randstad and join Beacon Hill.

        135.     On or about June 2019, Mooney began working as a Senior Staffing Consultant

for Beacon Hill in Dallas, Texas. Beacon Hill is a direct competitor to Randstad.

        136.     Beacon Hill solicited and hired Mooney with knowledge of Mooney’s continuing

obligations to Randstad.

        137.     At the time Beacon Hill hired Mooney, Beacon Hill had actual or constructive

knowledge that Mooney was subject to the Mooney Agreement because Beacon Hill is aware

Randstad requires employees to sign restrictive covenant agreements due to its repeated

infringement of those agreements with other former employees.

        138.     At the time Beacon Hill hired Mooney, Beacon Hill had actual or constructive

knowledge that Mooney was subject to the Mooney Agreement because Bestreich, an agent of

Beacon Hill, knew that Mooney was subject to the Mooney Agreement.

        139.     As discussed in more detail below, Beacon Hill’s status as a serial violator of

restrictive    covenant    agreements,   including   Randstad’s,   indicate   that   Beacon   Hill,

notwithstanding these continuing obligations, hired Mooney in a role that caused Mooney to

violate her obligations to Randstad. When hiring Mooney, Beacon Hill followed its pattern or




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practice of ignoring and failing to inquire about whether a candidate is bound by restrictive

covenants.

       140.   Indeed, Mooney’s employment with Beacon Hill is a blatant violation of the non-

compete covenant in Section 4(d) of the Agreement, which expressly prohibits Mooney from,

among other activities, (i) “providing products or services competitive with the Business of the

Company,” (ii) “supervising employees or other personnel who provide products or services

competitive with the Business of the Company,” (iii) developing or implementing strategies or

methodologies related to products or services competitive with the Business of the Company,”

and; or (iv) “engaging in responsibilities in which Employee would utilize or disclose

Confidential Information.”

       141.   And, again, Mooney’s solicitation and hiring by Bestreich was a blatant violation

of the Bestreich Agreement.

       D.     Hooper’s Employment With Randstad and Employment Agreement

       142.   Hooper joined Randstad as a National Recruiter - Centralized Delivery on or

about July 2017. Hooper received several promotions, ultimately obtaining the position of

Delivery Manager - Centralized Delivery. Throughout her employment with Randstad, she

worked in Randstad’s office in Frisco, Texas.

       143.   As a condition of her employment, on August 1, 2017, Hooper received and

signed the Hooper Agreement, which contains substantially similar provisions to the Bestreich

Agreement.

       144.   On April 14, 2020, Hooper left Randstad. Hooper did not inform Randstad that

she was leaving Randstad to join Beacon Hill.




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       145.    In or around June 2020, Hooper joined Beacon Hill as an Account Executive.

Hooper works at Beacon Hill’s Dallas, Texas office, which is located less than 25 miles from

Randstad’s Frisco office.

       146.    On information and belief, Hooper’s job duties for Beacon Hill are substantially

similar to her job duties at her prior position with Randstad.

       147.    In past litigation, including in the Georgia Litigation, Beacon Hill has refused to

admit that it hired, continued to employ, and allowed employees to violate their restrictive

covenants with Randstad even when faced with overwhelming evidence otherwise.

       148.    Beacon Hill solicited and hired Hooper with knowledge of Hooper’s continuing

obligations to Randstad.

       149.    At the time Beacon Hill hired Hooper, Beacon Hill had actual or constructive

knowledge that Hooper was subject to the Hooper Agreement because Beacon Hill is aware

Randstad requires employees to sign restrictive covenant agreements due to its repeated

infringement of those agreements with other former employees.

       150.    On information and belief, Wang prepared Hooper’s offer letter and was aware

that Hooper was a Randstad employee at the time he extended an offer to her.

       151.    As discussed above, Beacon Hill’s status as a serial violator of restrictive

covenant agreements, including Randstad’s, indicate that Beacon Hill, notwithstanding these

continuing obligations, hired Hooper in a role that caused Hooper to violate her obligations to

Randstad.

       152.    Despite Randstad’s efforts to enforce its agreements, including the hires discussed

above, Beacon Hill continues to interfere with Randstad’s restrictive covenant agreements and

similar agreements executed by other companies. Beacon Hill has clearly made a decision to




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view restrictive covenant litigation as nothing more than a cost of doing business and the price to

obtain customers and business strategies without the expense of developing those relationships or

strategies. As a result, Randstad has been forced to bring this lawsuit to seek the Court’s

assistance in securing Beacon Hill’s recognition of Randstad’s agreements and to amend the

Complaint to include individuals hired while the original lawsuit was pending.

                                         COUNT I
         Intentional Interference With Contractual Relations – Randstad Employees
                                   (Against Beacon Hill)

        153.    Randstad repeats and re-alleges Paragraphs 1–152 above, and incorporates them

as if fully set forth herein.

        154.    Randstad has valid and enforceable contractual relationships with its employees,

including, without limitation, the Beacon Hill Hires, by virtue of their restrictive covenant

agreements with Randstad. Indeed, numerous courts have entered injunctions upholding

Randstad’s restrictive covenant agreements. See, e.g., Randstad Techs., LLC v. Lisette Robles,

No. 2020-0105987 (Ga. Super. Ct., Cobb Cty.) (Sept. 30, 2020); Randstad Techs., LLC v. Luma,

et al., No. 18106542 (Ga. Super. Ct., Cobb Cty.); Randstad General Partner (US), LLC v. Volt

Workforce Solutions, LLC, No. 17108166 (Ga. Super. Ct., Cobb Cty.), Randstad Professionals

US, LLC v. Joseph Tamberrino, et al., No. 1:18-cv-940-ELR (N.D. Ga.).

        155.    During their employment with Randstad, the Beacon Hill Hires either

Customarily and regularly solicited customers or prospective customers, customarily and

regularly engaged in making sales or obtaining orders or contracts for products or services to be

performed by others, or managed a subdivision of Randstad, regularly directed the work of two

or more employees, and had the authority to hire or fire other employees or had particular weight

given to their suggestions or recommendations regarding changes to employment status.




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       156.    Randstad had a reasonable expectation that these contractual relationships would

continue and that its employees including, without limitation, the Beacon Hill Hires, would

comply with the provisions of the Agreements.

       157.    Beacon Hill had knowledge of Randstad’s Agreements with its employees,

including, without limitation, the Beacon Hill Hires.

       158.    Beacon Hill, by its involvement in litigation with Randstad, including the Georgia

Litigation, and other companies in the staffing industry, knew or should have known that

Randstad had valid and enforceable restrictive covenant agreements, and, despite its active or

constructive knowledge, chose to interfere with Randstad’s agreements, resulting in willful and

intentional acts of interference with Randstad’s restrictive covenant agreements.

       159.    Specifically, Beacon Hill hires Randstad personnel and places them in positions in

the same territory performing the same or substantially similar job functions. Beacon Hill also

encourages former Randstad employees to call on their former clients and/or fails to take any

measures to prevent the employees from soliciting their former clients. In doing so, Beacon Hill

violates the non-competition restrictions in the above-referenced employees’ agreements.

       160.    Beacon Hill has, through its leadership, including Wang, made a calculated

decision to breach restrictive covenant agreements to acquire premium talent in the marketplace

while foregoing the need to develop and train employees at its own expense.

       161.    Beacon Hill has consciously chosen to not implement a restrictive covenant

screening program or to take other measures that would allow it to avoid violating restrictive

covenants. Indeed, despite being repeatedly sued by Randstad, Beacon Hill continues to hire

Randstad employees and place them in roles that violate Randstad’s restrictive covenant

agreements.




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       162.    By the acts described above, Beacon Hill has intentionally interfered with

Randstad’s contractual relationships with its employees, including, without limitation, the

Beacon Hill Hires.

       163.    Beacon Hill knew or should have known that offering employment to its

employees, including, without limitation, the Beacon Hill Hires, and continuing to employ them

in positions that violated their restrictive covenant agreements would, and did in fact induce

Randstad’s employees, including, without limitation, the Beacon Hill Hires, to violate their

respective agreements. Specifically, Beacon Hill hires Randstad employees and places them in

the same market and encourages them to solicit their former customers. In doing so, Beacon Hill

affirmatively and intentionally encourages its Randstad hires to breach their non-competition and

non-solicitation obligations.

       164.    Beacon Hill also directed, authorized, encouraged, or ratified improper and illegal

solicitations of Randstad customers and employees.

       165.    By the acts described above, Beacon Hill had an improper motive and used

improper means in interfering with Randstad’s contractual relations without lawful justification

or legitimate reason for this interference with those contracts. Beacon Hill’s leadership, including

Wang and Charlie Cain, have stated or implied that they do not care about complying with

restrictive covenant agreements. The reason for their disregard for restrictive covenants is that

Beacon Hill believes that it is more efficient and profitable to hire employees without regard to

restrictive covenants rather than consider them when making hiring determinations.

       166.    As a direct and proximate result of Beacon Hill’s actions described above—which

is not limited to the Beacon Hill hires—Randstad has suffered and continues to suffer irreparable

harm and monetary damages.




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        167.    By reason of the foregoing, Randstad requires injunctive relief. Unless injunctive

relief is granted, Randstad will be irreparably harmed in a manner not fully compensable by

money damages. In addition, Randstad has been damaged in an amount to be determined at trial.

        168.    This claim is not limited to the Beacon Hill Hires, but expressly excludes any

hiring where Randstad executed a settlement agreement between it and Beacon Hill.

                                           COUNT II
                 Intentional Interference With Contractual Relations - Mooney
                                       (Against Bestreich)

        169.    Randstad repeats and re-alleges Paragraphs 1-152 above, and incorporates them

as if fully set forth herein.

        170.    Randstad has a valid and enforceable contractual relationship with Mooney by

virtue of her restrictive covenant agreement with Randstad.

        171.    Randstad had a reasonable expectation that its contractual relationship with

Mooney would continue and that Mooney would comply with the provisions of her Agreement.

        172.    Bestreich had knowledge of Randstad’s Agreement with Mooney.

        173.    By the acts described above, Bestreich has intentionally interfered with

Randstad’s contractual relationship with Mooney and willfully and intentionally interfered with

Mooney’s Agreement.

        174.    Bestreich knew or should have known that encouraging and assisting Mooney in

obtaining a position that violated her restrictive covenant agreements would, and did in fact

induce, Mooney to violate her Agreement.

        175.    By the acts described above, Bestreich had an improper motive and used improper

means in interfering with Randstad’s contractual relations without lawful justification or

legitimate reason for this interference with this contract.




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        176.    Bestreich’s conduct, as alleged herein, was willful and intentional.

        177.    As a direct and proximate result of Bestreich’s actions described above, Randstad

has suffered and continues to suffer irreparable harm and monetary damages.

                                        COUNT III
         Intentional Interference With Contractual Relations - Randstad Employees
                                      (Against Wang)

        178.    Randstad repeats and re-alleges Paragraphs 1-152 above, and incorporates them

as if fully set forth herein.

        179.    Randstad has valid and enforceable contractual relationships with its employees,

including, without limitation, the Beacon Hill Hires, by virtue of their restrictive covenant

agreements with Randstad. Indeed, numerous courts have entered injunctions upholding

Randstad’s restrictive covenant agreements. See, e.g., Randstad Techs., LLC v. Lisette Robles,

No. 2020-0105987 (Ga. Super. Ct., Cobb Cty.) (Sept. 30, 2020); Randstad Techs., LLC v. Luma,

et al., No. 18106542 (Ga. Super. Ct., Cobb Cty.); Randstad General Partner (US), LLC v. Volt

Workforce Solutions, LLC, No. 17108166 (Ga. Super. Ct., Cobb Cty.), Randstad Professionals

US, LLC v. Joseph Tamberrino, et al., No. 1:18-cv-940-ELR (N.D. Ga.).

        180.    Randstad had a reasonable expectation that these contractual relationships would

continue and that its employees including, without limitation, the Beacon Hill Hires, would

comply with the provisions of the Agreements.

        181.    Wang had knowledge of Randstad’s Agreements with its employees, including,

without limitation, the Beacon Hill Hires.

        182.    Wang also has knowledge of Courts’ entering injunctions upholding Randstad

restrictive covenant agreements.




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       183.    Wang knowingly extends employment to Randstad employees, including the

Beacon Hill Hires, with full knowledge that they are being placed in positions that violate their

restrictive covenants.

       184.    Wang has also created or fostered a growth strategy at Beacon Hill that requires

or heavily depends on violating restrictive covenant agreements. Wang plays a significant role in

Beacon Hill’s extensive violations of restrictive covenants, as evidenced by the fact that Beacon

Hill’s conduct is the same across its ostensibly separate divisions.

       185.    Wang has made a deliberate choice to interfere with Randstad’s restrictive

covenant agreements. Wang has received numerous cease and desist letters from Randstad,

because Wang prepares offer letters to all Beacon Hill employees, and because Wang

nonetheless continues to hire Randstad employees in positions that clearly violate their restrictive

covenant agreements. Wang has also continued to pursue a growth strategy that prizes growth

above compliance with restrictive covenant agreements.

       186.    By his actions, Wang has personally directed or participated in the tortious

conduct described above or otherwise acted as the “guiding spirit” in causing Beacon Hill to

tortiously interfere with Randstad’s restrictive covenant agreements.

       187.    Wang, because of his past involvement in restrictive covenant litigation with

Randstad, including the Georgia Litigation, and cases filed by or against other companies in the

staffing industry, knew or should have known that Randstad had valid and enforceable restrictive

covenant agreements, and, despite his active or constructive knowledge, chose to interfere with

Randstad’s agreements.

       188.    By the acts described above, Wang has intentionally interfered with Randstad’s

contractual relationships with its employees, including, without limitation, the Beacon Hill Hires.




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        189.    Wang knew or should have known that offering employment to its employees,

including, without limitation, the Beacon Hill Hires, and continuing to employ them in positions

that violated their restrictive covenant agreements would, and did in fact induce Randstad’s

employees, including, without limitation, the Beacon Hill Hires, to violate their respective

agreements.

        190.    Wang also knew or should have known that his policy or practice of achieving

growth at any cost and refusing to implement any screening measures to identify and avoid

violating Randstad’s restrictive covenants.

        191.    Wang also directed, authorized, encouraged, or ratified improper and illegal

solicitations of Randstad customers and employees through, on information and belief,

instructions to his direct reports and through Beacon Hill’s approach to hiring.

        192.    By the acts described above, Wang engaged in willful and intentional acts of

interference with Randstad’s restrictive covenant agreements.

        193.    As a direct and proximate result of Beacon Hill’s actions described above,

Randstad has suffered and continues to suffer irreparable harm and monetary damages.


                                         COUNT IV
            Intentional Interference With Existing Business Relations - Customers
                                     (Against Beacon Hill)

        194.    Randstad repeats and re-alleges Paragraphs 1–152 above, and incorporates them

as if fully set forth herein.

        195.    As described in detail above, Beacon Hill, without privilege, engaged in improper

and wrongful conduct by employing former Randstad employees, including, without limitation,

the Beacon Hill Hires, and directing or encouraging them to solicit customers, in violation of

their restrictive covenant agreements with Randstad.



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        196.    Beacon Hill acted purposefully, with malice, and with intent to injure Randstad

when it hired and continued to employ Randstad’s employees, including, without limitation, the

Beacon Hill Hires. As a result of Beacon Hill’s inducement, Beacon Hill caused Randstad

customers to discontinue, to fail to enter, and/or to reduce their business with Randstad.

        197.    Beacon Hill directs candidates to end their employment with Randstad in a way

that is calculated to disrupt the relationship between Randstad and its clients. For example,

Beacon Hill coaches new hires to leave without notice in an effort to disrupt Randstad’s client

relationships and impair the likelihood of a smooth transition, in an effort to harm Randstad’s

relationship with any impacted customers.

        198.    Beacon Hill acted purposefully, with malice, and with intent to injure Randstad.

        199.    By the acts described above, Beacon Hill had an improper motive and used

improper means in interfering with Randstad’s business relationships and expectations.

        200.    As a direct and proximate result of Beacon Hill’s actions described above,

Randstad has suffered and continues to suffer irreparable harm and monetary damages.

                                          COUNT V
                 Intentional Interference With Business Relations - Customers
                                        (Against Wang)

        201.    Randstad repeats and re-alleges Paragraphs 1-152 above, and incorporates them

as if fully set forth herein.

        202.    As described in detail above, Wang, without privilege, engaged in improper and

wrongful conduct by employing former Randstad employees, including, without limitation, the

Beacon Hill Hires, and directing or encouraging them to solicit customers, in violation of their

restrictive covenant agreements with Randstad.




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          203.   Wang has also either created or played a critical role in Beacon Hill’s standard

separation protocol, which is designed to disrupt the relationship between Randstad and the

client.

          204.   Wang acted purposefully, with malice, and with intent to injure Randstad when it

hired and continued to employ Randstad’s employees, including, without limitation, the Beacon

Hill Hires and by continuing to direct or coordinate Beacon Hill’s nationwide program of

disregarding or knowingly ignoring restrictive covenants. As a result of Wang’s inducement,

Beacon Hill caused Randstad customers to discontinue, to fail to enter, and/or to reduce their

business with Randstad.

          205.   Wang acted purposefully, with malice, and with intent to injure Randstad.

          206.   By the acts described above, Wang had an improper motive and used improper

means in interfering with Randstad’s business relationships and expectations.

          207.   As a direct and proximate result of Wang’s actions described above, Randstad has

suffered and continues to suffer irreparable harm and monetary damages.

          208.   By reason of the foregoing, Randstad requires injunctive relief. Unless injunctive

relief is granted, Randstad will be irreparably harmed in a manner not fully compensable by

money damages. In addition, Randstad has been damaged in an amount to be determined at trial.

                                           COUNT VI
                                       Unfair Competition
                                 (Against Beacon Hill and Wang)

          209.   Randstad repeats and re-alleges Paragraphs 1-152 above, and incorporates them

as if fully set forth herein.

          210.   Beacon Hill’s and Wang’s acts and omissions described above constitute unfair

competition.




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       211.    Beacon Hill, led by its CEO, organized a scheme to raid Randstad’s employees as

a means to improperly and illegally acquire Randstad’s workforce, its customers, and its

goodwill, in order to harm Randstad in the marketplace so that Beacon Hill could unfairly

compete against Randstad. This scheme, including solicitation of Randstad’s employees, was

undertaken with unlawful and improper purpose, and employed unlawful and improper means.

Beacon Hill’s and Wang’s conduct was contrary to honest practices in industrial or commercial

matters, as evidenced by its status as a serial defendant in restrictive covenant litigation.

       212.    Until Beacon Hill and Wang carried out this scheme, Randstad maintained valid

relationships, or the expectancy of relationships, with their customers and employees. Randstad

reasonably expected that these relationships and its work force would continue and would not be

unjustifiably disrupted.

       213.    Randstad has been competitively and commercially damaged as a proximate

result of the acts and omissions of unfair competition committed by Beacon Hill. Specifically,

there was a reasonable probability of entering into contractual or business relationships with

third parties, but those prospective business relationships were disrupted by Beacon Hill’s and

Wang’s actions.

       214.    Beacon Hill’s and Wang’s conduct has been willful and in bad faith.

       215.    Beacon Hill’s and Wang’s conduct has caused and is causing irreparable injury to

Randstad. Unless enjoined by this Court, Beacon Hill will continue to damage Randstad.

Randstad has no adequate remedy at law with respect to Beacon Hill’s and Wang’s acts of unfair

competition.

                           REQUEST FOR EXEMPLARY DAMAGES
                                 (Against All Defendants)




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        216.    Randstad repeats and re-alleges Paragraphs 1 through 152 above, and incorporates

them as if fully set forth herein.

        217.    Defendants’ actions have been willful and malicious and were intended to harm

Defendants and were in reckless disregard of Randstad’s rights and of the consequences to

Randstad. Beacon Hill has acted with the specific intent to harm Randstad by hiring Randstad

employees to perform the same duties in the same territory without taking any measures to

comply with their restrictive covenant agreements, by refusing to implement any form of

restrictive covenant screening, and by recommending to its new hires that they leave Randstad

with minimal notice to disrupt existing relations between Randstad and its clients.

        218.    Therefore, Randstad is entitled to exemplary damages against Defendants to deter

such improper conduct in the future.

                                     PRAYER FOR RELIEF

        WHEREFORE, Randstad prays that this Court:

        1.      Enter judgment in Randstad’s favor and against Defendants, jointly and severally,

where applicable, for all damages that may be calculated that Randstad may recover as a result of

Defendants’ misconduct, including, without limitation, compensatory and exemplary or punitive

damages in an amount to proven at trial;

        2.      Award attorneys’ fees, costs and expenses as allowed by law;

        3.      Enter permanent equitable relief enjoining Defendants from any further breaches

of contract and tortious interference with Randstad’s contracts and business relationships; and

        4.      Grant such other and further relief as may be just and proper.

                                     JURY TRIAL DEMAND

        RANDSTAD DEMANDS A TRIAL BY JURY OF ALL ISSUES AND COUNTS SO

TRIABLE.


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Respectfully submitted,

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Dated: November 5, 2020




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 5, 2020, I electronically filed the above document and

a copy will be served on all counsel via the Court CM/ECF website, including the following

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